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               UNITED STATES DISTRICT COURT

                      DISTRICT OF OREGON

                       PORTLAND DIVISION



TIM CARR                               Case No. 3:20-cv-01349-SI
individually and on
behalf of other customers              RESPONSE TO MOTION TO
                                       COMPEL ARBITRATION
                   Plaintiff
                                       Oral Argument Requested
      vs
                                       Demand for Jury Trial
WALGREEN CO.

                   Defendant




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                           INTRODUCTION

       In its motion to compel arbitration, Walgreen argues that plaintiff

objectively manifested assent to a 2020 modified online version of its

Balance Rewards program terms and conditions, which contained an

arbitration provision. Doc. 9. Walgreen argues that because the

arbitration provision encompasses plaintiff’s claims, the Court must

compel arbitration and dismiss this action. Id.

       Of course, the whole point of an arbitration provision is lost, if you

keep it a secret.

       Plaintiff opposes Walgreen’s motion to compel because plaintiff

did not manifest his assent to Walgreen’s arbitration provision, and even

if he did, a plain reading of the agreement unambiguously indicates that

plaintiff’s claims are not within the scope of the provision.

       As argued below, Walgreen has not met, and cannot meet, its

burden to compel arbitration in this case, and there is no genuine issue

of fact to be decided by a jury. Because there is no valid agreement

requiring plaintiff to arbitrate his claims for this Court to enforce,

Walgreen’s motion to compel arbitration and to dismiss this action

should be denied. If the motion to compel is not denied based on the

factual record, plaintiff respectfully requests a trial by jury.




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                      FACTUAL BACKGROUND

        Plaintiff seeks compensation for Walgreen’s alleged violation of

Oregon’s Unlawful Trade Practices Act and unjust enrichment based on

allegations that Walgreen knowingly misrepresented the cost of certain

consumer goods in its advertised prices. Doc. 1. During plaintiff’s

interactions with Walgreen, Walgreen’s manager allegedly told plaintiff

that thousands of other people were also overcharged, prompting

plaintiff to file this case as a putative class action. Carr Decl. ¶ 1.

        As alleged in his declaration, plaintiff never received any version

of Walgreen’s Balance Rewards program terms and conditions, never

saw any updates or information about arbitration, and never agreed to

arbitration with Walgreen. Id. at ¶¶ 3-5.

        Walgreen spends a portion of its motion attacking the merits of

plaintiff’s substantive claims, plaintiff’s motives, and even plaintiff’s

character.1 Plaintiff will not respond in kind, except to refute the

allegations made against him. Id. at ¶¶ 1-2.


1 This is not the first Oregon class action where Walgreen used an early
dispositive motion as a vehicle to comment on the evidence and attack a
plaintiff’s motives. See, e.g., Gilberto v. Walgreen Co., No. 3:18-cv-01003-
AC, 2020 US Dist LEXIS 66647 (D. Or. Apr. 15, 2020). In its motions to
dismiss resulting in the opinion above, Walgreen repeatedly commented
on the evidence, and accused the plaintiff in Gilberto of “acting fast” by
“rushing into court with a class action lawsuit” to obtain a “multimillion-
dollar windfall”, and forum shopping. Doc. 8; Doc. 13. Based on the dates
in its motion to compel in this case, it appears Walgreen began
attempting to add arbitration provisions and class action waivers to its
Balance Rewards program while it was litigating the Gilberto case.

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                         LEGAL STANDARDS

      The Federal Arbitration Act (FAA) applies to all contracts

involving interstate commerce and provides that “written agreements to

arbitrate controversies arising out of an existing contract ‘shall be valid,

irrevocable, and enforceable, save upon such grounds as exist at law or

in equity for the revocation of any contract.”’ Dean Witter Reynolds, Inc.

v. Byrd, 470 U.S. 213, 218 (1985) (quoting 9 U.S.C. § 2).

      A court may compel arbitration only “upon being satisfied that

the making of the agreement or the failure to comply therewith is not at

issue.” 9 U.S.C. § 4. When “deciding whether to compel arbitration, a

court must determine two ‘gateway’ issues: (1) whether there is an

agreement to arbitrate between the parties; and (2) whether the

agreement covers the dispute.” Brennan v. Opus Bank, 796 F.3d 1125,

1130 (9th Cir. 2015).

      Under the FAA, “any doubts concerning the scope of arbitrable

issues should be resolved in favor of arbitration.” Moses H. Cone Mem’l

Hosp. v. Mercury Constr. Corp., 460 U.S. 1, 24-25 (1983). However, the

“liberal federal policy regarding the scope of arbitrable issues is

inapposite” to the question of whether a particular party agreed to the

arbitration agreement. Comer v. Micor, Inc., 436 F.3d 1098, 1104 n.11

(9th Cir. 2006). The validity of an arbitration agreement remains “a

matter of contract and a party cannot be required to submit to



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arbitration any dispute which he has not agreed so to submit.” AT&T

Techs., Inc. v. Commc’ns Workers of Am., 475 U.S. 643, 648 (1986).

      Courts generally “apply ordinary state-law principles that govern

the formation of contracts” to determine whether the parties agreed to

arbitrate a dispute. First Options of Chi., Inc. v. Kaplan, 514 U.S. 938,

944 (1995). “In deciding whether an agreement to arbitrate existed, a

court should apply a summary-judgment-style standard” using

“ordinary state-law principles that govern the formation of contracts.”

Campos v. Bluestem Brands, Inc., No. 3:15-CV-00629-SI, 2015 U.S. Dist.

LEXIS 132538, at *3-4 (D. Or. Sept. 30, 2015); see also Three Valleys

Mun. Water Dist. v. E.F. Hutton & Co., 925 F.2d 1136, 1140-41 (9th Cir.

1991) (holding that courts should decide as a matter of law that an

agreement to arbitrate existed only if there is no genuine issue of fact

concerning the formation of the agreement).

      A court must give the party opposing a motion to compel

arbitration “the benefit of all reasonable doubts and inferences that may

arise.” Id. The party seeking to compel arbitration bears “the burden of

proving the existence of an agreement to arbitrate by a preponderance

of the evidence.” Knutson v. Sirius XM Radio Inc., 771 F.3d 559, 565 (9th

Cir. 2014). When “the making of the arbitration agreement” is at issue,

“the court shall proceed summarily to the trial thereof.” 9 U.S.C. § 4.




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                      LEGAL MEMORANDUM

   1. Plaintiff did not manifest assent to arbitration

      As the party seeking to compel arbitration and “alleging the

existence of a contract, [Walgreen] has the burden to prove each element

of a valid contract—including mutual assent.” Stover v. Experian

Holdings, Inc., No. 19-55204, U.S. App. LEXIS 33176, at *9 (9th Cir.

Oct. 21, 2020).

      Assent to an agreement, including an agreement to arbitrate,

can be manifested either expressly or impliedly. Express assent is

typically evidenced by a signature or other sufficient means of

electronic acknowledgment. See, e.g., Nguyen v. Barnes & Noble Inc.,

763 F.3d 1171, 1175-77 (9th Cir. 2014) (describing manifestation of

assent to “browsewrap” and “clickwrap” agreements formed through

internet websites). Implied assent is based on actual notice that

specified action will manifest acceptance to an agreement followed by

the occurrence of the action. See, e.g., Campos v. Bluestem Brands, Inc.,

No. 3:15-CV-00629-SI, 2016 U.S. Dist. LEXIS 7592, at *29-30 (D. Or.

Jan. 22, 2016) (finding after an evidentiary hearing that plaintiff’s use

of an account after receiving the defendant’s agreement providing that

subsequent use of that account would equate to acceptance of the terms

and conditions in the agreement, including arbitration, manifested

plaintiff’s assent to be bound by the agreement).



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      In the context of a modification of an arbitration agreement,

in Douglas v. U.S. District Court for Central District of California, the

Ninth Circuit held that the district court clearly erred in concluding that

“a service provider may change the terms of its service contract by

merely posting a revised contract on its website” without providing

customers with additional notice of the changes. 495 F.3d 1062, 1065

(9th Cir. 2007). The court held that “[p]arties to a contract have no

obligation to check the terms on a periodic basis to learn whether they

have been changed by the other side,” and that even if a customer’s

continued use of a service could be considered assent to revised terms,

“such assent can only be inferred after [that customer] received proper

notice of the proposed changes.” Id. at 1066.

      Just a few months ago, in Stover the Ninth Circuit explained

“that nothing in Douglas suggests that mere inquiry notice of changed

terms is enough to bind the parties to them.” U.S. App. LEXIS 33176,

at *8-9. The court found that plaintiff “had no obligation to investigate

whether [the defendant] issued new terms without providing notice to

her that it had done so,” because “the opposite rule would lead to absurd

results: contract drafters who included a change-of-terms provision

would be permitted to bind individuals daily, or even hourly, to

subsequent changes in the terms.” Id. at *9. The Ninth Circuit adopted

the following rule: “in order for changes in terms to be binding pursuant



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to a change-of-terms provision in the original contract, both parties to

the contract—not just the drafting party—must have notice of the

change in contract terms.” Id.

         Oregon contract law governs the questions of whether Walgreen

has met its burden to prove that plaintiff manifested his assent to

arbitrate his claims.2 In Oregon, “[w]hether a contract existed is a

question of law.” Ken Hood Constr. Co. v. Pac. Coast Constr., Inc., 201

Or. App. 568, 577 (2005). Parties create an enforceable agreement

through “a manifestation of mutual assent to the exchange and a

consideration. . . . ‘The manifestation of mutual assent to an exchange

ordinarily takes the form of an offer or proposal by one party followed

by     an   acceptance      by   the   other    party    or     parties.”’ Id. at

578 (quoting Restatement (Second) of Contracts § 17(1) (1981)).

         To determine if an agreement was formed, courts look only to

“the parties’ objective manifestations of intent, as evidenced by their

communications and acts.” Id. A party may manifest their assent

through conduct rather than words. See Staley v. Taylor, 165 Or. App.

256, 262 n.6 (2000) (“Frequently, implied-in-fact contracts arise

because an accepted course of conduct would permit a reasonable juror

to find that the parties understood that their acts were sufficient to


2 See Nguyen, 763 F.3d at 1175 (noting that a federal court sitting in
diversity looks to the law of the forum state when making a choice of law
determination).

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manifest an agreement.”). However, a party must act in a way that

“clearly manifested an objective intent” to be bound by the

agreement. DCIPA, LLC v. Lucile Slater Packard Children’s Hosp. at

Stanford, 868 F. Supp. 2d 1042, 1053 (D. Or. 2011).

      In Citibank South Dakota N.A. v. Santoro, the credit card

agreement at issue provided that the card user would be bound to the

terms of the agreement unless the account was cancelled within 30 days

or the credit card is not used. 210 Or. App. 344, 348 (2006). The court

held that because the plaintiff did “not dispute that he received

the credit card at his request, that he did not cancel the credit

card account, and that he used the credit card, the plaintiff his

manifested assent to the credit card agreement.” Id. at 349.

      Under Oregon law, conduct may also manifest acquiescence to a

modification of an agreement. See Adair Homes, Inc. v. Jarrell, 59 Or.

App. 80, 85 (1982). However, modification requires mutual assent and

must be supported by consideration. Bennett v. Farmers Ins. Co. of Or.,

332 Or. 138, 148, (2001). Moreover, “when assent to a modification

occurs by conduct, that conduct must be ‘unequivocal.”’ Martin v.

Comcast of Cal./Colo./Fla./Or., Inc., 209 Or. App. 82, 97 (2006).

      In Martin, the putative class plaintiffs filed suit seeking relief for

Comcast’s allegedly illegal billing practices. Id. at 85. Comcast moved to

compel arbitration of the plaintiffs’ claims, arguing that the plaintiffs



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manifested their assent to modification of their agreements including an

arbitration clause it included in bill stuffers it sent to the plaintiffs. Id.

at 95-97. The court upheld the trial court’s ruling that Comcast failed to

meet its burden that any of the plaintiffs manifested assent to Comcast’s

arbitration provision because “a subscriber could easily have continued

using Comcast’s service without ever being aware of the arbitration

clause. Indeed, the lead plaintiff, Martin, averred that she was unaware

of receiving the notices that purported to change her cable subscription.

Evidence, then, supports the court’s finding that nonaction did not

signify acceptance of the arbitration term.” Id. at 97.

       In Burgess v. Qwest Corp., a consumer filed suit against Qwest

for unlawfully attempting to collect a debt from her after she cancelled

her service. 546 F. Supp. 2d 1117, 1118-19 (D. Or. 2008). Qwest

attempted to compel arbitration based upon the plaintiff’s alleged assent

to an arbitration clause which provided that using, enrolling in,

activating, or paying for Qwest’s services or equipment would manifest

agreement to Qwest’s terms and conditions, including arbitration. Id. at

1120-21. The plaintiff testified that she did not read or agree to the

terms and that she was not made aware of their existence. Id. at 1121.

Relying in part on Martin, the court found that Qwest had not satisfied

its burden to prove that the plaintiff manifested assent to arbitration

because Qwest offered “no evidence, such as a signed agreement or



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documented communications with plaintiff, to establish that plaintiff

was aware of the terms of the Internet Agreement and agreed to them.”

Id.

      In finding that the defendant did meet its burden to prove that

the plaintiff assented to the defendant’s arbitration clause through

subsequent use of her account after receiving the applicable agreement,

in Campos this Court distinguished Martin and Burgess, finding that

      Martin and Burgess are both distinguishable from Ms.
      Campos’s case. In Martin, the plaintiffs’ lack of awareness
      of the agreement became relevant only in the total absence
      of any affirmative assent to the agreement. The plaintiffs
      used their cable accounts before receiving the agreement
      and continued their use, unchanged, after purportedly
      receiving the agreements. This non-action could not
      objectively manifest assent. The defendant also presented
      no specific proof that the plaintiffs did, in fact, receive the
      agreement. In contrast, Ms. Campos affirmatively used her
      credit account for the first time after receiving the
      Agreement, and her receipt of the Agreement was
      established with specific evidence. Similarly, the presence
      of specific evidence, rather than “conclusory statements,”
      that Ms. Campos received the Agreement before using her
      credit account distinguishes her case from Burgess.

Campos, 2016 U.S. Dist. LEXIS 7592, at *28.

      Here, Martin and Burgess cannot be so distinguished. Therefore,

the outcome must be the same—Walgreen’s motion to compel

arbitration must be denied. In fact, the “evidence” proffered by Walgreen

to satisfy its burden regarding assent is significantly more deficient than

the evidence proffered in Martin and Burgess. Analogous to Martin and

Burgess, plaintiff declares that he never “received or viewed any version

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of Walgreen’s Balance Rewards Terms and Conditions, including the

versions of the Terms and Conditions Walgreen has filed in this case as

Exhibit 2 and Exhibit 3 to the Declaration of Patrick Mclean in Support

of Defendant's Motion to Compel Arbitration, on Walgreen’s website or

otherwise.” Carr Decl. ¶ 3. Plaintiff also declares that he “never saw any

updates or information about arbitration on Walgreen’s website,” and

that he “never saw any updates or information about arbitration or any

terms and conditions while inside Walgreen’s stores.” Id. at ¶ 4. Plaintiff

further declares that he “never agreed to arbitration with Walgreen,

either verbally, in writing, on the Internet, in Walgreen’s stores, or

otherwise,” that he “never signed an arbitration agreement with

Walgreen, ever,” and that he “never even knew about any Walgreen

arbitration agreement until after [he] filed this lawsuit.” Id. at ¶ 5.

      Walgreen argues that plaintiff did in fact enter into a valid and

enforceable agreement to arbitrate his claim. Walgreen’s theory is that

plaintiff first impliedly assented to the 2014 version of its T&C, which

did not contain any arbitration provision, by using a Walgreen’s Balance

Rewards account set up by his wife when he made purchases.

Walgreen’s sole “evidence” that plaintiff was made aware of the 2014

T&C is that he and his wife somehow “joined the Balance Rewards

program on June 19, 2014.” Doc. 9 at 6; see also Doc. 10 at ¶ 5 (“According

to Walgreens’ records, the Balance Rewards account referenced on



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Exhibit 1 and used in connection with the purchases at issue in this

lawsuit is registered to Rosanna Carr, with an associated email address

of tim@timcarr.com. The Carrs became Balance Reward members on or

about June 19, 2014.”). Critically, Walgreen does not specify how

plaintiff (or his wife) became members or how and when they would have

been made aware of the 2014 T&C, in order for plaintiff’s subsequent

use of the account to have manifested his assent to the 2014 T&C.

According to Walgreen, because plaintiff “continued to participate in the

Balance Rewards program,” after Walgreen unilaterally modified its

T&C to include a mandatory arbitration provision in 2020, plaintiff also

manifested his assent to this 2020 modified version of the T&C. Doc. 9

at 7.

        Walgreen’s arguments and its motion must fail because the

evidence does not raise any genuine issue of fact regarding plaintiff’s

assent to its 2014 T&C, let alone the unilateral change in terms

including mandatory arbitration in its 2020 T&C. Critically, Walgreen

offers no evidence that plaintiff was ever made aware of any version of

its T&C, or that he was even made aware that he should visit Walgreen’s

website to read the T&C before using the rewards program. The fact

that plaintiff used his wife’s rewards account when he made purchases

at Walgreen, and that Walgreen has plaintiff’s email address in its

records, is not evidence that plaintiff was ever made aware of the 2014



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or 2020 T&C, especially when plaintiff affirmatively denies ever

receiving or viewing any version of Walgreen’s T&C or any arbitration

provision.

      As in Burgess, Walgreen “provides no evidence, such as a signed

agreement or documented communications with plaintiff, to establish

that plaintiff was aware of the terms of the [T&Cs] and agreed to them.”

Burgess, 546 F. Supp. 2d at 1121. And as in Martin, plaintiff “could

easily have continued using [Walgreen’s] service without ever being

aware of the arbitration clause” in the 2020 T&C. Martin, 209 Or. App.

at 97. Because plaintiff was never made aware of, or assented to, the

2014 T&C, he could not have manifested assent to the “modified” 2020

T&C by using the account after Walgreen’s 2020 unilateral

modifications.

      And even if plaintiff had assented to the 2014 T&C and could be

found to be on notice that the terms of the agreement could be

unilaterally altered by Walgreen at any time, the rule announced in

Stover—which should have the same force under an Oregon law

analysis—would preclude a finding of assent to the 2020 T&C without

additional notice to plaintiff of the important changes. “[M]ere

inquiry notice of changed terms is [not] enough to bind the parties to

them” and plaintiff “had no obligation to investigate whether [Walgreen]

issued new terms without providing notice to [him] that it had done so.”



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Stover, U.S. App. LEXIS 33176, at *8-9. It would be “absurd” to expect

consumers to continuously monitor Walgreen’s website to ensure that

they were not agreeing to material changes in an agreement by making

purchases. Id. at *9. Especially when the material change-in-terms

involves waiver of an important Constitutional right3. Nor was there any

additional consideration given for this unilateral and material

modification as required under Oregon law. See Bennett, 332 Or. at 148.

         Contrary to Campos and Santoro, especially given plaintiff’s

declaration, here no reasonable juror could find that plaintiff received,

or was made aware of, Walgreen’s 2020 T&C or the arbitration

agreement contained within it. If plaintiff was not made aware of the

T&C, he could not have unambiguously manifested his assent to be

bound by any of those terms by using the account.

         Because Walgreen “has not sufficiently proven that [p]laintiff

received and was aware of the terms of any . . . [a]greement purportedly

provided to him,” and because there is no “genuine dispute of material

fact regarding whether a valid arbitration agreement exists,” there is no

need for an evidentiary hearing or jury trial on this issue. Card v. Wells




3 See Campos, 2016 U.S. Dist. LEXIS 7592, at *9 n.1. (“The Court notes
that the right to a trial by jury is the only right that appears in both the
text of the Constitution, U.S. Const. art. III, § 2, and the Bill of Rights,
U.S. Const. amend. VII. Arbitration restricts a party's right to a trial by
jury, and consent to such a process should not casually be presumed or
slyly be obtained.”).

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Fargo Bank, N.A., No. 3:19-cv-1515-SI, 2020 U.S. Dist. LEXIS 45117, at

*19 (D. Or. Mar. 16, 2020). Because plaintiff “cannot be required to

submit to arbitration any dispute which he has not agreed so to submit,”

Walgreen’s motion to compel arbitration must be denied. AT&T, 475

U.S. at 648.

   2. Plaintiff’s claim is not within the scope of the agreement

       Because plaintiff did not manifest assent to Walgreen’s 2020

T&C, there is no arbitration agreement to enforce. However, even if

plaintiff had manifested assent to the 2020 T&C, his UTPA claim is not

within the scope of the arbitration provision in that agreement.

      “Although [a] contract provides that [state] law will govern the

contract’s construction, the scope of the arbitration clause is governed

by federal law.” Tracer Research Corp. v. Nat’l Envtl. Servs. Co., 42 F.3d

1292, 1294 (9th Cir. 1994). The U.S. Supreme Court has generally noted

that there is a “federal policy favoring arbitration” and that “any doubts

concerning the scope of arbitrable issues should be resolved in favor of

arbitration.” Moses H. Cone, 460 U.S. at 24-25. However, the Supreme

Court has also clarified that courts “must look first to whether the

parties agreed to arbitrate a dispute, not to general policy goals, to

determine the scope of the agreement,” and that courts should “not

override the clear intent of the parties, or reach a result inconsistent

with the plain text of the contract, simply because the policy favoring



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arbitration is implicated.” EEOC v. Waffle House, Inc., 534 U.S. 279, 294

(2002); see also Granite Rock Co. v. Int’l Bhd. of Teamsters, 561 U.S. 287,

302-03 (2010) (explaining that the federal policy favoring arbitration “is

merely an acknowledgment of the FAA’s commitment to overrule the

judiciary’s longstanding refusal to enforce agreements to arbitrate and

to place such agreements upon the same footing as other contracts,” and

noting that “we have never held that this policy overrides the principle

that a court may submit to arbitration only those disputes . . . that the

parties have agreed to submit,” “[n]or have we held that courts may use

policy considerations as a substitute for party agreement.” (internal

quotation marks and citations omitted)).

       Therefore, according to the Supreme Court’s directives, the

presumption that a particular dispute is within the scope of an

arbitration agreement must only be applied when there is sufficient

ambiguity in the agreement. See also Wagner v. Stratton Oakmont, Inc.,

83 F.3d 1046, 1049 (9th Cir. 1996) (noting that in interpreting

arbitration agreements courts should give “due regard to the federal

policy in favor of arbitration by resolving ambiguities as to the scope of

arbitration in favor of arbitration” (emphasis added)). Here, there is no

ambiguity—plaintiff’s UTPA claim has no relation to Walgreen’s 2020

T&C or its rewards program.




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       The arbitration clause that Walgreen unilaterally added to the

2020 version of its T&C provides:

       If a dispute ever arises between Member and Company
       relating in any way to the Agreement or the Company’s
       Balance Rewards Program, including claims based on state
       or federal statutes, Member should first contact Company.
       If the matter cannot be resolved informally, Member and
       Company each agree that any and all disputes or claims
       that have arisen or may arise between Member and
       Company shall be resolved exclusively through final and
       binding arbitration, rather than in court, except that
       Member may assert claims in small claims court, if
       Member’s claims qualify (“Agreement to Arbitrate”).

Doc. 10-1 at 11.

       The key language limiting the scope of this arbitration clause is

that it only encompasses disputes relating to the “Agreement” (the T&C)

itself or to Walgreen’s “Balance Rewards Program”. Given the language

that precedes it, the “any and all disputes or claims” is qualified to mean

disputes “relating in any way to” the T&C or the rewards program.

       Otherwise, a reading of the “any and all disputes” language as

being untethered to the “relating to” the agreement or the rewards

program would render the arbitration provision fatally overbroad,

unconscionable, and unenforceable. See, e.g., Smith v. Steinkamp, 318

F.3d 775, 777 (7th Cir. 2003) (holding that “absurd results ensue” when

arbitration provisions “are read as standing free from any [underlying]

agreement,” but avoiding unconscionability by limiting the provision to

relate to the parties’ agreement); In re Jiffy Lube Int’l, Inc., 847 F. Supp.



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2d 1253, 1262-63 (S.D. Cal. 2012) (finding the “incredibly broad”

language of the arbitration provision applying to “any and all disputes”

between the parties as clearly unconscionable, and refusing to rewrite

the agreement “so as to contain a typical limitation, such as that the

dispute at issue must ‘arise out of or relate to’ the contract”); Wexler v.

AT&T Corp., 211 F. Supp. 3d 500, 502-05 (E.D.N.Y. 2016) (holding

arbitration provision was unconscionably “broad” because it “purports

to require arbitration of claims against third parties” and “is not limited

to disputes concerning” the underlying agreement, but characterizing

refusal to enforce the provision as a question of contract formation

rather than unconscionability); 9 U.S.C. § 2 (requiring that the

controversy “aris[e] out of the contract between the parties”).

      A review of Walgreen’s 2020 T&C indicates it exclusively deals

with the rewards program: including, earning points under the rewards

program; redeeming points under the rewards program; and the use of

personal information in furtherance of the rewards program. Doc. 10-1

at 7-12. For example, the following opening paragraphs of the T&C

make clear that the agreement only concerns the rewards program.

      Balance® Rewards is a loyalty program offered by
      Walgreen Co. to its customers (also referred to as “the
      Program”). These terms and conditions form the agreement
      (the “Agreement”) between each customer that participates
      in Balance Rewards (referred to as a “Member”) and
      Walgreen Co. and its participating affiliates and
      subsidiaries (collectively “Company”) with respect to the
      Program.

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      ….
      By completing the enrollment process and participating in
      Balance Rewards, Member agrees to the terms and
      conditions, rules, regulations, policies, and procedures of
      the Program…
      ….
      Each Member is responsible for remaining knowledgeable
      about the Program terms and conditions.
      ….
      Walgreen Co. reserves the right to change the terms or
      conditions of the Program or terminate the Program or
      Member’s membership in the Program at any time, for any
      reason, without prior written notice. Communications
      about Balance Rewards, including material changes to the
      Program, will be posted on Walgreens.com/Balance.

Id. at 7 (emphases added).

      Walgreen asserts that “[t]here [is] no argument that this dispute

is not ‘relating in any way’ to the Balance Rewards program, or that it

is not included within the ‘any and all disputes’ that Plaintiff agreed to

arbitrate with Walgreen as a condition of participating in the benefits of

the Balance Rewards program.” Doc. 9 at 9. Walgreen is incorrect. There

is more than argument that plaintiff’s UTPA claim is not encompassed

by the 2020 T&C—it is unambiguously so.

      As explained supra, to be enforceable, the “any and all disputes”

language must be tethered to disputes “relating” to the T&C or the

rewards program. And although “relating to” is considered to be very

broad in scope, even “‘related to’ marks a boundary by indicating some

direct relationship; otherwise the term would stretch to the horizon and

have no limiting purpose in violation of the cannon of verba cum effectu



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sunt accipienda.” United States ex rel. Welch v. My Left Foot Children’s

Therapy, LLC, 871 F.3d 791, 798 (9th Cir. 2017) (internal quotation

marks and citation omitted).

      In the complaint, plaintiff alleges that

      Walgreen violated ORS 646.608(1)(s) of the UTPA when in
      the course of its business it made false or misleading
      representations of fact about the true and total cost of
      consumer goods by failing to disclose its hidden
      overcharges in the prices it advertised on its shelves,
      although Walgreen knew it charged more than the
      advertised cost at its registers, causing plaintiff
      ascertainable loss in the amount of the illegal 80 cent
      overcharge Walgreen collected from him.

Doc. 1 at ¶18.

      When “look[ing] to the reasonable expectation of the parties at the

time of contract,” no reasonable person would expect that by

participating in a rewards program and agreeing to be bound by this

T&C that they were waiving their right to a jury and agreeing to

arbitrate claims against Walgreen that are unrelated to the T&C or the

rewards program itself. Revitch v. DIRECTV, LLC, 977 F.3d 713, 717

(9th Cir. 2020). Walgreen’s misrepresentation and omission about the

cost of goods it sold to plaintiff does not bear a “direct relationship” to

the T&C or rewards program merely because Walgreen tracked and

recorded this particular sale in its rewards program system.

      For example, plaintiff does not assert that Walgreen violated the

UTPA by misrepresenting any aspect of the rewards program, by not



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properly allocating him points under the rewards program, by breaching

the T&C in any way, or by engaging in any conduct that is specifically

contemplated by the T&C. See, e.g., Missaghi v. Coca-Cola Co., No. CV

12-07472 SJO (Ex), 2013 WL 12114765, 2013 U.S. Dist. LEXIS 202919,

at *11 (C.D. Cal. Jan. 2, 2013) (finding that plaintiff’s Telephone

Consumer Protection Act claims were connected to the “My Coke

Rewards” program, and thus within the scope of the arbitration

agreement, because the terms of the program specifically authorized the

sending of the allegedly illegal text messages as part of the program).

      Plaintiff does not rely on the T&C or any terms governing the

rewards program in his complaint because his claim has nothing to do

with either—Walgreen’s alleged acts and omissions violate the UTPA

whether or not plaintiff’s particular transactions were tracked in

Walgreen’s rewards program system. See, e.g., Cavlovic v. J.C. Penney

Corp., 884 F.3d 1051, 1060 (10th Cir. 2018) (“with respect to the alleged

wrong, it is simply fortuitous that the parties happened to have a

contractual relationship” (internal quotation marks omitted)); Gamble

v. New Eng. Auto Fin., Inc., 735 F. App’x 664, 667 (11th Cir. 2018) (“Put

differently, NEAF could have violated the [Telephone Consumer

Protection Act], and Ms. Gamble could have brought a lawsuit against

NEAF for those violations, without there ever having been a contract (in

this case the Loan Agreement) between the two parties.”); Estate of



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Athon v. Conseco Fin. Serv. Corp., 88 S.W.3d 26, 30 (Mo. Ct. App. 2002)

(“[F]or a tort claim to be subject to arbitration under a broad arbitration

clause, it must raise some issue the resolution of which requires

reference to or construction of some portion of the parties’ contract.

Where, however, a tort claim is independent of the contract terms and

does not require reference to the underlying contract, arbitration is not

compelled.”).

      Instead, Walgreen’s alleged violation of ORS 646.608(1)(s)

occurred prior to the sale of the goods, when it failed “to disclose its

hidden overcharges in the prices it advertised on its shelves.” Doc. 1 at

¶ 18. Plaintiff seeks relief for Walgreen’s violation of a consumer

protection statute that imposes an independent legal duty upon

Walgreen to not subject Oregonians to unlawful trade practices. See,

e.g., Tracer, 42 F.3d 1292 (claim for misappropriation of trade secrets

arose from legal duty that was independent of the parties’ licensing

agreement and was not subject to arbitration). Walgreen’s UTPA

violations based on its false price advertising is far from being a

foreseeable result of using Walgreen’s rewards program to log points and

(allegedly) agreeing to a T&C exclusively dealing with that rewards

program. See Hemispherx Biopharma, Inc. v. Johannesberg Consol.

Invs., 553 F.3d 1351, 1367 (11th Cir. 2008) (looking to whether the

dispute was a “foreseeable result” of the performance of the contract).



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      As the Supreme Court explained in Litton Financial Printing

Division, a Division of Litton Business System, Inc. v. NLRB, “[t]he

object of an arbitration clause is to implement a contract, not to

transcend it.” 501 U.S. 190, 205 (1991). Therefore, even if somehow

plaintiff unwittingly, without notice, entered into a binding and

enforceable agreement with Walgreen to waive his right to relief in this

Court and to a jury trial, the scope of Walgreen’s arbitration clause

unambiguously does not encompass plaintiff’s UTPA claim, which is the

subject of this lawsuit.




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                            CONCLUSION

      For all these reasons, Walgreen’s motion to compel plaintiff’s

claims to arbitration should be denied. In the event that the Court finds

there is a genuine issue of material fact as to whether there is a valid

and enforceable agreement to arbitrate plaintiff’s claims, plaintiff

respectfully requests a trial by jury under 9 U.S.C. § 4.


December 8, 2020


                                 RESPECTFULLY FILED,


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                    CERTIFICATE OF SERVICE


I certify that I caused this document to be served on the parties to this
action through the CM/ECF system.


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